Case 1:17-cr-10067-STA        Document 334        Filed 05/10/18     Page 1 of 1      PageID 815




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  EASTERN DIVISION


 UNITED STATES OF AMERICA,           )
                                     )
       Plaintiff,                    )
                                     )
 vs.                                 )     Dkt. No. 1:17-10067-STA-8
                                     )
 DOUG EVANS,                         )
                                     )
       Defendant.                    )
 ______________________________________________________________________________

                   ORDER GRANTING DEFENDANT’S MOTION
         TO RESET SENTENCING HEARING AND NOTICE OF RESETTING
 ______________________________________________________________________________


        Upon motion of the Defendant, Doug Evans, to continue the Sentencing Hearing

 currently set in this matter, without objection from the Government, and for good cause shown, it

 is hereby ORDERED that the Sentencing Hearing in this matter shall be reset to May 21, 2018

 at 10:00 a.m.




                                             s/S. Thomas Anderson
                                             S. THOMAS ANDERSON, CHIEF JUDGE,
                                             UNITED STATES DISTRICT COURT


                                             DATE: 5/10/2018
